Case 19-56304-sms Doc 249 Filed 01/13/25 Entered 01/13/25 14:21:52 Desc Main

Document Pageiof1

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA

Filed in U.S. Bankruptcy Court
Northern District of Georgia
Vania S. Allen, Clerk

JAN 13 2025

By: Z/
De lerk

24lppa

ATLANTA DIVISION
IN RE: CASE NO. 19-56304
SONJA NICOLE WILLIAMS CHAPTER 7
Debtor.
CHANGE OF ADDRESS
DEBTOR: XXX CREDITOR:
DEBTOR NAME: _ Sonja Nicole Williams
CASE NUMBER: 19-56304
NEW ADDRESS: PO BOX 3930 Alpharetta, GA 30023

This Change of Address Was Furnished By: Sonja Nicole Williams (Ross)

Respectfully submitted this 13th day of January, 2024.

dng

/s/ Sonia Ross

Sonja Ross (Formerly Williams), Inventor
